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                                                                                                                                                        Fee Schedule Agreement                                                                                                                       •                                                         •
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                                                                           the investment Services arty; Custody Agreement ("t~llent Agre.emenr} or are accessible through EWTB's
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                          SUPPLEMENTAL FEE INFORMATION;                                                                                                                                                                                                                                                                                                                                             •


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                          the employee is no longer employed by f-VVTB„ thefull standard schecLile above will *ply and the discount Oi he                                                                                                                                                                                                                              •                •

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